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 5
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              5 TO DESIGNATE ALL GOVERNMENT
14                                         )             WITNESSES AS UNDER DEFENSE
     vs.                                   )             SUBPOENA UNLESS RELEASED
15                                         )
                                           )             Pretrial Conference: July 16, 2015
16                                         )             Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )             Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )             Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

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     Def.’s Motion In Limine No. 5
     CR 15-00226 BLF                                 1
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 1                                               ARGUMENT

 2   I.       The Court Should Designate All Government Witnesses as Under Defense Subpoena
              Unless Released
 3

 4            Government witnesses noticed for trial occasionally are released by the government without

 5   informing the defense, and thereafter become unavailable. In order for Mr. York to retain access

 6   to these witnesses, he requests the Court order that any released government witnesses be considered

 7   under defense subpoena.

 8            Indigent defendants such as Mr. York are provided the opportunity to have the government

 9   subpoena witnesses on their behalf by the Sixth Amendment and by Fed. R. Crim. P. 17(b). United

10   States v. Barker, 553 F.2d 1013, 1019 (6th Cir. 1997). In addition, this Court has the inherent power

11   to subpoena witnesses on behalf of indigents. See Lloyd v McKendree, 749 F.2d 705, 706-07 (11th

12   Cir. 1985); Link v. Wabash, 370 U.S. 626, 630 (1962) (“The inherent powers of the federal courts

13   are governed not by rule or statute but by the control necessarily vested in courts to manage their

14   own affairs so as to achieve the orderly and expeditious disposition of cases.”). To safeguard against

15   the loss of vital witness testimony and to ensure that this indigent defendant is provided all Fifth and

16   Sixth Amendment rights, Mr. York requests that the Court exercise its inherent power to order that

17   any released government witnesses be considered under defense subpoena for the duration of the

18   trial.

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     Def.’s Motion In Limine No. 5
     CR 15-00226 BLF                                    2
         Case5:15-cr-00226-EJD Document19 Filed07/02/15 Page3 of 3



 1                                            CONCLUSION

 2           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

 3   motion, Mr. York respectfully requests that the Court grant his motions, and accord such other relief

 4   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

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 6   Dated: July 2, 2015                                   Respectfully submitted,

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                                                           STEVEN G. KALAR
 8                                                         Federal Public Defender

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                                                                s/
10                                                         GRAHAM ARCHER
                                                           Assistant Federal Public Defender
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     Def.’s Motion In Limine No. 5
     CR 15-00226 BLF                                  3
